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 9
     Attorneys for MICHAEL W. CARMEL,
10   Ch. 11 Trustee for the Estate of Thomas A. Hantges
11                           UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF NEVADA
12
     In re:                                      )   Case No. BK-S-06-10725 LBR
13                                               )   Case No. BK-S-06-10726 LBR
     USA COMMERCIAL MORTGAGE                     )   Case No. BK-S-06-10727 LBR
14                                               )   Case No. BK-S-06-10728 LBR
     COMPANY,                                        Case No. BK-S-06-10729 LBR
                          Debtor.                )
15                                               )
     In re:
     USA CAPITAL REALTY INVESTORS,               )   Chapter: 11
16                                               )
     LLC,
                        Debtor.                  )   Jointly Administered Under
17                                               )   Case No.: BK-S-06-10725-LBR
     In re:
     USA CAPITAL DIVERSIFIED TRUST               )
18                                               )
     DEED FUND, LLC,
                        Debtor.                  )
19                                               )
     In re:
     USA CAPITAL FIRST TRUST DEED                )
20                                               )
     FUND, LLC,
                         Debtor.                 )
21                                               )
     In re:                                      )
22   USA SECURITIES, LLC,                        )
                         Debtor                  )
23                                               )
24
                                     CERTIFICATE OF SERVICE
25
              I HEREBY CERTIFY that service of the following:
26
              1.    Verified Petition For Permission To Practice In This Case Only By
27
                    Attorney Not Admitted To The Bar Of This Court;
28

                                                                                    Doc. # CC-164561 v.1
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 1          2.     Notice Of Appearance And Request For Special Notice;
 2          3.     Designation Of Local Counsel And Consent Thereto; and
 3          4.     [Amended] Designation Of Local Counsel And Consent Thereto
 4   was made on the 22nd day of August 2007, by depositing a true and correct copy of the
 5   aforementioned in a mailbox of the United States Post Office, enclosed in a sealed
 6   envelope, postage fully prepaid thereon, addressed to all interested parties on the
 7   mailing matrix attached hereto as Exhibit “1”.
 8          I declare under penalty of perjury under the laws of the United States of America
 9   and the State of California that the foregoing is true and correct.
10
11
     Dated: August 23, 2007                        /s/ Aja N. Clark
12                                              Aja N. Clark
                                                an employee of Steptoe & Johnson LLP
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                                            SERVICE LIST
                        USA Commercial Mortgage Company – Case No. S-06-10725 LBR




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Debtor
USA Commercial Mortgage Company                          Chapter 11 Trustee for the Estate of
4484 South Pecos Road                                    Debtor Thomas A. Hantges
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